 Case 1:22-cv-00252-MSG Document 50 Filed 02/15/23 Page 1 of 1 PageID #: 903




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


ARBUTUS BIOPHARMA CORPORATION                       :
and GENEVANT SCIENCES GMBH,                         :
                                                    :       CIVIL ACTION
                              Plaintiffs,           :
                                                    :
               v.                                   :
                                                    :       NO. 22-252
MODERNA, INC. and MODERNATX, INC.,                  :


                                                ORDER

       AND NOW, this 15th day of February, 2023, it is hereby ORDERED that the Initial

Pretrial Conference scheduled for Thursday, February 16, 2023 at 2:00 p.m. is

RESCHEDULED to February 16, 2023 at 11:00 a.m. The conference will be conducted via

telephone and held on the record. Counsel are directed to dial in as follows: (1) Call: 888-684-

8852; (2) Enter access code: 2187450#; (3) Press # to enter as a participant.

                                             BY THE COURT:



                                             /s/ Mitchell S. Goldberg
                                             MITCHELL S. GOLDBERG, J.
